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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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STARR INDEMNITY & LIABILITY CoO.,

Plaintiff, ORDER

~against-
20 Civ, 3172 (PKC)

CHOICE HOTELS INT’L, INC.,

Defendant(s).
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CASTEL, U.S.D J,

The Court has reviewed the discovery dispute letter and response (Doc 30 &

31), as well as plaintiff's complaint for declaratory judgment.

The issue to be decided with respect to the duty to defend is whether the
complaint, as framed by B.H. in the underlying action, triggers a duty to defend under the
policy in view of its “Abuse or Molestation Exclusion.” Plaintiff asserts that the language
of the policy and its exclusion are unambiguous so there is precious little by way of

discovery that plaintiff could seek beyond the complaint in the underlying suit.

The duty to indemnify stands on a different footing. The Court stays all
discovery directed to whether plaintiff has a duty to indemnify its insured because
discovery related to whether the underlying plaintiff B.H. has a meritorious claim against
plaintiff's insured would be extremely prejudicial to the insured at this time. There is no
pressing need to adjudicate the duty to indemnify, A ruling by the Court that there is no
duty to defend likely would be dispositive of the duty to indemnify. If the Court concludes
there is a duty to defend, then the Court will entertain an application by plaintiff to lift the

stay as to discovery as to the duty to indemnify.

 
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The Court grants to defendant a protective order against plaintiff's Rule

30(b)(6) Notice as presently framed. The Clerk shall terminate letter motion (Doc 30.)

SO ORDERED.

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P. Kevin Castel
United States District Judge

Dated: New York, New York
November 4, 2020

 
